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                                                STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                                     EXECUTIVE DIVISION
ATTORNEY GENERAL                                                                               OFFICE OF FEDERAL INITIATIVES


                                                                            May 11, 2022

      By ECF
      Honorable Brenda K. Sannes
      United States District Judge
      United States District Court
      Northern District of New York
      P.O. Box 7336
      Syracuse, NY 13261

                 RE:    Trump v. James, NDNY No. 21 Civ. 1352 (BKS)(CFH)

      Dear Judge Sannes,

               The Office of the Attorney General (“OAG”) represents Defendant, Attorney General
      Letitia James, in the above-captioned case. We write in advance of the oral argument scheduled
      for this Friday, May 13, 2022 to provide the Court with further, supplemental information
      concerning the procedural posture of the People v. The Trump Organization, Inc., NY County,
      NY Supreme NYSCEF No. 451685/2020, (hereafter, the “NY Proceeding”). In particular, please
      find attached an order issued today by Justice Engoron in the NY Proceeding, conditionally
      granting Mr. Trump’s request to purge the finding of contempt upon his satisfaction of certain
      enumerated acts by May 20, 2022.


                                                                   Respectfully submitted,

                                                                   /s/ Colleen K. Faherty
                                                                   Colleen K. Faherty
                                                                   Assistant Attorney General
                                                                   (212) 416-6046




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